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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 O.M.G., et al.,

        Petitioners,
                   v.                                   Civil Action No. 20-786 (JEB)


 CHAD WOLF, et al.,

        Respondents.


                                             ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

       1. Respondents’ [71] Motion to Dismiss Petitioners Who Have Been Released from the

          FRCs is DENIED AS MOOT;

       2. Petitioners’ [88] Motion to Add Petitioners is GRANTED;

       3. Petitioners’ [78] Motion for a Preliminary Injunction is DENIED; and

       4. The Parties shall appear for a telephonic hearing on July 29, 2020, at 10:30 AM, to

          discuss next steps in the litigation.

       SO ORDERED.


                                                      /s/ James E. Boasberg
                                                      JAMES E. BOASBERG
                                                      United States District Judge

Date: July 22, 2020




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